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     TONI H. WHITE (SBN 210119)
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 4
     Attorney for Defendant
 5
     SEQUIOYA HARRIS
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      ) No. 2:17-CR-00071 JAM
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                                                    )
                                                    )
10           Plaintiff,                             ) ORDER GRANTING EXTENSION OF
                                                    ) VOLUNTARY SURRENDER DATE
11
     v.                                             )
                                                    )
12
     Harris et al.                                  )
                                                    )
13
                                                    )
             Defendant.                             )
14
                                                    )
                                                    )
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                                                    )
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17           At the request of counsel for the defendant, Sequioya D. Harris, and there being no
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     objection from Government counsel, the Court orders the defendant’s voluntary surrender date
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     extended from July 9, 2020 to November 2, 2020.
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22   Dated: June 29, 2020                         /s/ John A. Mendez______________________
                                                  United States District Court Judge
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